  Fill in this information to identify your case and this filing:
  Debtor 1               Cheryl                      V.                  Johnson
                         First Name                  Middle Name         Last Name

  Debtor 2
  (Spouse, if filing) First Name                     Middle Name         Last Name


  United States Bankruptcy Court for the: MIDDLE DIST. OF PENNSYLVANIA

  Case number            4:23-bk-01144                                                                                      Check if this is an
  (if known)
                                                                                                                            amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                 12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


  Part 1:          Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
            No. Go to Part 2.
            Yes. Where is the property?

1.1.                                                       What is the property?                         Do not deduct secured claims or exemptions. Put the
280 Long Run Rd.                                           Check all that apply.                         amount of any secured claims on Schedule D:
Street address, if available, or other description             Single-family home                        Creditors Who Have Claims Secured by Property.
                                                               Duplex or multi-unit building             Current value of the       Current value of the
                                                               Condominium or cooperative                entire property?           portion you own?
Mill Hall                        PA       17751                Manufactured or mobile home                          $86,027.00                    $86,027.00
City                             State    ZIP Code             Land
                                                               Investment property                       Describe the nature of your ownership
                                                               Timeshare                                 interest (such as fee simple, tenancy by the
Clinton                                                                                                  entireties, or a life estate), if known.
                                                               Other
County
                                                                                                         Fee Simple
                                                           Who has an interest in the property?
280 Long Run Rd., Mill Hall, PA 17751
                                                           Check one.
                                                               Debtor 1 only                                Check if this is community property
                                                               Debtor 2 only                                (see instructions)
                                                               Debtor 1 and Debtor 2 only
                                                               At least one of the debtors and another

                                                           Other information you wish to add about this item, such as local
                                                           property identification number:




Official Form 106A/B                                                   Schedule A/B: Property                                                          page 1
        Case 4:23-bk-01144-MJC                              Doc 10 Filed 05/30/23 Entered 05/30/23 15:02:44                                       Desc
                                                            Main Document    Page 1 of 44
Debtor 1         Cheryl V. Johnson                                                                     Case number (if known)         4:23-bk-01144

1.2.                                                     What is the property?                               Do not deduct secured claims or exemptions. Put the
Vacant Land                                              Check all that apply.                               amount of any secured claims on Schedule D:
Penn Forest Twp., Carbon County PA                            Single-family home                             Creditors Who Have Claims Secured by Property.
                                                              Duplex or multi-unit building                  Current value of the            Current value of the
Vacant Land, Penn Forest Twp.,                                Condominium or cooperative                     entire property?                portion you own?
Carbon County PA                                              Manufactured or mobile home                                   $2,000.00                   $2,000.00
                                                              Land
                                                              Investment property                            Describe the nature of your ownership
County                                                        Timeshare                                      interest (such as fee simple, tenancy by the
                                                              Other                                          entireties, or a life estate), if known.

                                                         Who has an interest in the property?
                                                                                                             Fee Simple
                                                         Check one.
                                                              Debtor 1 only                                       Check if this is community property
                                                              Debtor 2 only                                       (see instructions)
                                                              Debtor 1 and Debtor 2 only
                                                              At least one of the debtors and another

                                                         Other information you wish to add about this item, such as local
                                                         property identification number:

2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any
       entries for pages you have attached for Part 1. Write that number here.............................................................            $88,027.00


 Part 2:          Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3.     Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           No
           Yes

3.1.                                                     Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                       Hyundai                      Check one.                                          amount of any secured claims on Schedule D:
                                                              Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                      Kona
                                                              Debtor 2 only                           Current value of the                   Current value of the
Year:                       2019
                                                              Debtor 1 and Debtor 2 only              entire property?                       portion you own?
Approximate mileage: 64,000                                   At least one of the debtors and another             $9,000.00                             $9,000.00
Other information:
2019 Hyundai Kona (approx. 64,000                             Check if this is community property
miles)                                                        (see instructions)

3.2.                                                     Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                       Chevy                        Check one.                                          amount of any secured claims on Schedule D:
                                                              Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                      500
                                                              Debtor 2 only                           Current value of the                   Current value of the
Year:                       2019                                                                      entire property?                       portion you own?
                                                              Debtor 1 and Debtor 2 only
Approximate mileage: 60,000                                   At least one of the debtors and another            $15,100.00                           $15,100.00
Other information:
2019 Chevy 500 (approx. 60,000 miles)                         Check if this is community property
                                                              (see instructions)
Joint with Kayla Swanson




Official Form 106A/B                                                   Schedule A/B: Property                                                                page 2
        Case 4:23-bk-01144-MJC                           Doc 10 Filed 05/30/23 Entered 05/30/23 15:02:44                                               Desc
                                                         Main Document    Page 2 of 44
Debtor 1         Cheryl V. Johnson                                                                   Case number (if known)         4:23-bk-01144

4.   Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
     Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
           No
           Yes

5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any
     entries for pages you have attached for Part 2. Write that number here.............................................................            $24,100.00


 Part 3:          Describe Your Personal and Household Items
                                                                                                                                           Current value of the
Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                           portion you own?
                                                                                                                                           Do not deduct secured
                                                                                                                                           claims or exemptions.

6.   Household goods and furnishings
     Examples: Major appliances, furniture, linens, china, kitchenware
           No
           Yes. Describe............
                               Various household goods and furnishings                                                                               $3,500.00


7.   Electronics
     Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners;
                music collections; electronic devices including cell phones, cameras, media players, games
           No
           Yes. Describe............


8.   Collectibles of value
     Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
           No
           Yes. Describe............
                               Books, pictures and CD's                                                                                                $175.00


9.   Equipment for sports and hobbies
     Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
               canoes and kayaks; carpentry tools; musical instruments
           No
           Yes. Describe............


10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
           No
           Yes. Describe............


11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
           No
           Yes. Describe............
                               Clothing                                                                                                                $700.00


12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
              gold, silver
           No
           Yes. Describe............
                               Various jewelry                                                                                                         $900.00




Official Form 106A/B                                                 Schedule A/B: Property                                                                page 3
      Case 4:23-bk-01144-MJC                           Doc 10 Filed 05/30/23 Entered 05/30/23 15:02:44                                               Desc
                                                       Main Document    Page 3 of 44
Debtor 1          Cheryl V. Johnson                                                                                                  Case number (if known)                  4:23-bk-01144

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
            No
            Yes. Describe............
                                1 Dog                                                                                                                                                                        $100.00


14. Any other personal and household items you did not already list, including any health aids you
    did not list
            No
            Yes. Give specific
            information......................


15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have
    attached for Part 3. Write the number here.......................................................................................................................                                    $5,375.00


  Part 4:            Describe Your Financial Assets
                                                                                                                                                                                        Current value of the
Do you own or have any legal or equitable interest in any of the following?
                                                                                                                                                                                        portion you own?
                                                                                                                                                                                        Do not deduct secured
                                                                                                                                                                                        claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
              petition
            No
            Yes.....................................................................................................................................................................................................
                                                                                                                                                     Cash: ...........................................               $25.00

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
              brokerage houses, and other similar institutions. If you have multiple accounts with the same
              institution, list each.

            No
            Yes..............................                   Institution name:

             17.1.        Checking account:                     Checking account M&T Bank                                                                                                                    $600.00
             17.2.        Checking account:                     Checking account PSECU                                                                                                                           $0.00
18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
            No
            Yes.............................. Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
    an interest in an LLC, partnership, and joint venture
            No
            Yes. Give specific
            information about
            them...............................................
                                               Name of entity:                                                                                           % of ownership:




Official Form 106A/B                                                                       Schedule A/B: Property                                                                                                  page 4
        Case 4:23-bk-01144-MJC                                          Doc 10 Filed 05/30/23 Entered 05/30/23 15:02:44                                                                                  Desc
                                                                        Main Document    Page 4 of 44
Debtor 1         Cheryl V. Johnson                                                                    Case number (if known)    4:23-bk-01144

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
           No
           Yes. Give specific
           information about
           them...............................................
                                              Issuer name:
21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or
              profit-sharing plans
           No
           Yes. List each
           account separately.             Type of account:            Institution name:

                                           Pension plan:               Pension plan                                                                      $0.00
22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

           No
           Yes..............................                        Institution name or individual:
23. Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)
       No
       Yes.............................. Issuer name and description:
24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
           No
           Yes.............................. Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c)
25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or
    powers exercisable for your benefit
           No
           Yes. Give specific
           information about them

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property;
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
           No
           Yes. Give specific
           information about them

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
           No
           Yes. Give specific
           information about them

Money or property owed to you?                                                                                                            Current value of the
                                                                                                                                          portion you own?
                                                                                                                                          Do not deduct secured
                                                                                                                                          claims or exemptions.

28. Tax refunds owed to you

           No
           Yes. Give specific information                                                                                      Federal:
           about them, including whether
           you already filed the returns                                                                                       State:
           and the tax years.....................................
                                                                                                                               Local:



Official Form 106A/B                                                         Schedule A/B: Property                                                       page 5
      Case 4:23-bk-01144-MJC                                     Doc 10 Filed 05/30/23 Entered 05/30/23 15:02:44                                    Desc
                                                                 Main Document    Page 5 of 44
Debtor 1         Cheryl V. Johnson                                                                                   Case number (if known)             4:23-bk-01144

29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
            No
            Yes. Give specific information                                                                                            Alimony:

                                                                                                                                      Maintenance:

                                                                                                                                      Support:

                                                                                                                                      Divorce settlement:

                                                                                                                                      Property settlement:

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers'
              compensation, Social Security benefits; unpaid loans you made to someone else
            No
            Yes. Give specific information


31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
            No
            Yes. Name the insurance
            company of each policy
            and list its value................    Company name:                                                 Beneficiary:                                Surrender or refund value:

                                                  Continental Life Insurance
                                                  Face Value $150,000; No cash value                                                                                           $0.00
32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently
    entitled to receive property because someone has died
            No
            Yes. Give specific information


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
            No
            Yes. Describe each claim..............


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
    rights to set off claims
            No
            Yes. Describe each claim..............


35. Any financial assets you did not already list

            No
            Yes. Give specific information


36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
    attached for Part 4. Write that number here.......................................................................................................................      $625.00


  Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

            No. Go to Part 6.
            Yes. Go to line 38.


Official Form 106A/B                                                            Schedule A/B: Property                                                                          page 6
        Case 4:23-bk-01144-MJC                                  Doc 10 Filed 05/30/23 Entered 05/30/23 15:02:44                                                           Desc
                                                                Main Document    Page 6 of 44
Debtor 1         Cheryl V. Johnson                                                                                   Case number (if known)             4:23-bk-01144

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
38. Accounts receivable or commissions you already earned

            No
            Yes. Describe................


39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones,
               desks, chairs, electronic devices
            No
            Yes. Describe................


40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

            No
            Yes. Describe................


41. Inventory

            No
            Yes. Describe................


42. Interests in partnerships or joint ventures

            No
            Yes. Describe................
                                Name of entity:                                                                                       % of ownership:

                                     Johnson Associates, LLC                                                                                 100%                          $2,500.00
43. Customer lists, mailing lists, or other compilations

            No
            Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                    No
                    Yes. Describe..............


44. Any business-related property you did not already list

            No
            Yes. Give specific information.

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have
    attached for Part 5. Write that number here.......................................................................................................................     $2,500.00


  Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

            No. Go to Part 7.
            Yes. Go to line 47.




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 7
        Case 4:23-bk-01144-MJC                                  Doc 10 Filed 05/30/23 Entered 05/30/23 15:02:44                                                            Desc
                                                                Main Document    Page 7 of 44
Debtor 1          Cheryl V. Johnson                                                                                  Case number (if known)             4:23-bk-01144

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
47. Farm animals
    Examples: Livestock, poultry, farm-raised fish
            No
            Yes............................


48. Crops--either growing or harvested

            No
            Yes. Give specific
            information..........................

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

            No
            Yes..............................


50. Farm and fishing supplies, chemicals, and feed

            No
            Yes..............................


51. Any farm- and commercial fishing-related property you did not already list

            No
            Yes. Give specific
            information..........................

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have
    attached for Part 6. Write that number here.......................................................................................................................          $0.00


  Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

            No
            Yes. Give specific information.


54. Add the dollar value of all of your entries from Part 7. Write that number here.................................................                                            $0.00




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 8
        Case 4:23-bk-01144-MJC                                  Doc 10 Filed 05/30/23 Entered 05/30/23 15:02:44                                                            Desc
                                                                Main Document    Page 8 of 44
Debtor 1           Cheryl V. Johnson                                                                                          Case number (if known)                4:23-bk-01144


  Part 8: List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2..............................................................................................................................................   $88,027.00

56. Part 2: Total vehicles, line 5                                                                                  $24,100.00

57. Part 3: Total personal and household items, line 15                                                               $5,375.00

58. Part 4: Total financial assets, line 36                                                                              $625.00

59. Part 5: Total business-related property, line 45                                                                  $2,500.00

60. Part 6: Total farm- and fishing-related property, line 52                                                                $0.00

61. Part 7: Total other property not listed, line 54                                               +                         $0.00

                                                                                                                                            Copy personal
62. Total personal property.                   Add lines 56 through 61.................................             $32,600.00              property total                 +          $32,600.00



63. Total of all property on Schedule A/B.                                                                                                                                                  $120,627.00
                                                                    Add line 55 + line 62.......................................................................................................




Official Form 106A/B                                                                  Schedule A/B: Property                                                                                   page 9
        Case 4:23-bk-01144-MJC                                       Doc 10 Filed 05/30/23 Entered 05/30/23 15:02:44                                                                   Desc
                                                                     Main Document    Page 9 of 44
 Fill in this information to identify your case:
 Debtor 1            Cheryl               V.                     Johnson
                     First Name           Middle Name            Last Name
 Debtor 2
 (Spouse, if filing) First Name           Middle Name            Last Name

 United States Bankruptcy Court for the: MIDDLE DIST. OF PENNSYLVANIA
                                                                                                                     Check if this is an
 Case number         4:23-bk-01144                                                                                   amended filing
 (if known)

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                  04/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages,
write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so
is to state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being
exempted up to the amount of any applicable statutory limit. Some exemptions--such as those for health aids, rights to
receive certain benefits, and tax-exempt retirement funds--may be unlimited in dollar amount. However, if you claim an
exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1:        Identify the Property You Claim as Exempt

1.   Which set of exemptions are you claiming?             Check one only, even if your spouse is filing with you.
          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on           Current value of     Amount of the                Specific laws that allow exemption
Schedule A/B that lists this property                   the portion you      exemption you claim
                                                        own
                                                        Copy the value from Check only one box for
                                                        Schedule A/B        each exemption


Brief description:                                         $86,027.00                 $22,820.00          11 U.S.C. § 522(d)(1)
280 Long Run Rd., Mill Hall, PA 17751                                             100% of fair market
                                                                                  value, up to any
Line from Schedule A/B:       1.1
                                                                                  applicable statutory
                                                                                  limit

Brief description:                                          $2,000.00                  $2,000.00          11 U.S.C. § 522(d)(5)
Vacant Land, Penn Forest Twp., Carbon                                             100% of fair market
County PA                                                                         value, up to any
Line from Schedule A/B: 1.2                                                       applicable statutory
                                                                                  limit




3.   Are you claiming a homestead exemption of more than $189,050?
     (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)

          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
              No
              Yes

Official Form 106C                               Schedule C: The Property You Claim as Exempt                                                 page 1

      Case 4:23-bk-01144-MJC                     Doc 10 Filed 05/30/23 Entered 05/30/23 15:02:44                                           Desc
                                                 Main Document    Page 10 of 44
Debtor 1      Cheryl V. Johnson                                                      Case number (if known)   4:23-bk-01144

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                      $9,000.00                 $662.00           11 U.S.C. § 522(d)(5)
2019 Hyundai Kona (approx. 64,000 miles)                                     100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    3.1
                                                                             applicable statutory
                                                                             limit

Brief description:                                     $15,100.00                $1,193.00          11 U.S.C. § 522(d)(2)
2019 Chevy 500 (approx. 60,000 miles)                                        100% of fair market
                                                                             value, up to any
Joint with Kayla Swanson                                                     applicable statutory
Line from Schedule A/B: 3.2                                                  limit

Brief description:                                      $3,500.00                $3,500.00          11 U.S.C. § 522(d)(3)
Various household goods and furnishings                                      100% of fair market
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $175.00                  $175.00           11 U.S.C. § 522(d)(3)
Books, pictures and CD's                                                     100% of fair market
                                                                             value, up to any
Line from Schedule A/B:     8
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $700.00                  $700.00           11 U.S.C. § 522(d)(3)
Clothing                                                                     100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    11
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $900.00                  $900.00           11 U.S.C. § 522(d)(4)
Various jewelry                                                              100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    12
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $100.00                  $100.00           11 U.S.C. § 522(d)(3)
1 Dog                                                                        100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    13
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $25.00                    $25.00           11 U.S.C. § 522(d)(5)
Cash in possession                                                           100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    16
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $600.00                  $600.00           11 U.S.C. § 522(d)(5)
Checking account M&T Bank                                                    100% of fair market
                                                                             value, up to any
Line from Schedule A/B:   17.1
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 2

      Case 4:23-bk-01144-MJC                    Doc 10 Filed 05/30/23 Entered 05/30/23 15:02:44                                Desc
                                                Main Document    Page 11 of 44
Debtor 1      Cheryl V. Johnson                                                      Case number (if known)   4:23-bk-01144

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                        $0.00                     $0.00           11 U.S.C. § 522(d)(5)
Checking account PSECU                                                       100% of fair market
                                                                             value, up to any
Line from Schedule A/B:   17.2
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $2,500.00                $2,500.00          11 U.S.C. § 522(d)(5)
Johnson Associates, LLC                                                      100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    42
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 3

      Case 4:23-bk-01144-MJC                    Doc 10 Filed 05/30/23 Entered 05/30/23 15:02:44                                Desc
                                                Main Document    Page 12 of 44
  Fill in this information to identify your case:
  Debtor 1             Cheryl                V.                     Johnson
                       First Name            Middle Name            Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: MIDDLE DIST. OF PENNSYLVANIA

  Case number          4:23-bk-01144                                                                                    Check if this is an
  (if known)
                                                                                                                        amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                         12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form.
On the top of any additional pages, write your name and case number (if known).


1.      Do any creditors have claims secured by your property?
             No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below.


  Part 1:         List All Secured Claims

2.      List all secured claims. If a creditor has more than one secured
        claim, list the creditor separately for each claim. If more than one              Column A               Column B               Column C
        creditor has a particular claim, list the other creditors in Part 2. As           Amount of claim        Value of collateral    Unsecured
        much as possible, list the claims in alphabetical order according to the          Do not deduct the      that supports this     portion
        creditor's name.                                                                  value of collateral    claim                  If any

  2.1                                             Describe the property that
                                                  secures the claim:                              $8,338.00               $9,000.00
Bank of America
Creditor's name
                                                  2019 Hyundai Kona (approx.
Bankruptcy Department                             64,000 miles)
Number       Street
4161 Piedmont Pkwy.
                                                  As of the date you file, the claim is: Check all that apply.
NC4-105-03-14
                                                      Contingent
Greensboro               NC      27410                Unliquidated
City                     State   ZIP Code
                                                      Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Purchase Money
   to a community debt
Date debt was incurred                            Last 4 digits of account number




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                                 $8,338.00

Official Form 106D           Schedule D: Creditors Who Have Claims Secured by Property
         Case 4:23-bk-01144-MJC    Doc 10 Filed 05/30/23 Entered 05/30/23 15:02:44                                                            Descpage 1
                                   Main Document             Page 13 of 44
Debtor 1      Cheryl V. Johnson                                                           Case number (if known)      4:23-bk-01144

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

  2.2                                         Describe the property that
                                              secures the claim:                            $13,907.00              $15,100.00
Chrysler Capital                              2019 Chevy 500 (approx.
Creditor's name
Attn: Bankruptcy Dept                         60,000 miles)
Number     Street
PO Box 961278
                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Ft. Worth               TX      76161-1278        Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Purchase Money
   to a community debt
Date debt was incurred                        Last 4 digits of account number

  2.3                                         Describe the property that
                                              secures the claim:                            $61,366.00              $86,027.00
M&T Bank
Creditor's name
                                   280 Long Run Rd., Mill Hall, PA
Lending Services, Customer Support 17751
Number     Street
P.O. Box 1288
                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Buffalo                 NY      14240-1288        Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                First Mortgage
   to a community debt
Date debt was incurred                        Last 4 digits of account number        2     3    7    4




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                           $75,273.00

Official Form 106D     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property
        Case 4:23-bk-01144-MJC          Doc 10 Filed 05/30/23 Entered 05/30/23 15:02:44                                               Descpage 2
                                       Main Document              Page 14 of 44
Debtor 1      Cheryl V. Johnson                                                           Case number (if known)      4:23-bk-01144

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

  2.4                                         Describe the property that
                                              secures the claim:                               $1,841.00            $86,027.00
M&T Bank                           280 Long Run Rd., Mill Hall, PA
Creditor's name
Lending Services, Customer Support 17751
Number     Street
P.O. Box 1288
                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Buffalo                 NY      14240-1288        Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Second Mortgage
   to a community debt
Date debt was incurred                        Last 4 digits of account number        4     9    9    8




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                              $1,841.00

If this is the last page of your form, add the dollar value totals from
all pages. Write that number here:                                                          $85,452.00

Official Form 106D     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property
        Case 4:23-bk-01144-MJC          Doc 10 Filed 05/30/23 Entered 05/30/23 15:02:44                                               Descpage 3
                                       Main Document              Page 15 of 44
  Fill in this information to identify your case:
  Debtor 1             Cheryl                V.                     Johnson
                       First Name            Middle Name            Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: MIDDLE DIST. OF PENNSYLVANIA

  Case number          4:23-bk-01144                                                                                    Check if this is an
  (if known)
                                                                                                                        amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                   12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G).
Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property.
If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page
to this page. On the top of any additional pages, write your name and case number (if known).


  Part 1:        List All of Your PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims against you?
             No. Go to Part 2.
             Yes.

2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each
       claim. For each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and
       show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If
       more space is needed for priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular
       claim, list the other creditors in Part 3.

       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.
                                                                                                      Total claim       Priority              Nonpriority
                                                                                                                        amount                amount

     2.1


Priority Creditor's Name                                   Last 4 digits of account number
                                                           When was the debt incurred?
Number        Street
                                                           As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
City                             State   ZIP Code
Who incurred the debt? Check one.                          Type of PRIORITY unsecured claim:
     Debtor 1 only                                            Domestic support obligations
     Debtor 2 only                                            Taxes and certain other debts you owe the government
     Debtor 1 and Debtor 2 only                               Claims for death or personal injury while you were
     At least one of the debtors and another                  intoxicated
     Check if this claim is for a community debt              Other. Specify
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F
           Case 4:23-bk-01144-MJCSchedule
                                    Doc E/F:
                                          10 Creditors
                                                FiledWho  Have Unsecured Claims
                                                       05/30/23     Entered 05/30/23 15:02:44                                                  Descpage 1
                                   Main Document           Page 16 of 44
Debtor 1        Cheryl V. Johnson                                                               Case number (if known)      4:23-bk-01144

  Part 2:         List All of Your NONPRIORITY Unsecured Claims

3.     Do any creditors have nonpriority unsecured claims against you?
             No. You have nothing to report in this part. Submit this form to the court with your other schedules.
             Yes

4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
       If a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what
       type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim, list the other creditors in
       Part 3. If more space is needed for nonpriority unsecured claims, fill out the Continuation Page of Part 2.

                                                                                                                                              Total claim

     4.1                                                                                                                                          $2,586.00
Capital One                                                 Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?           1/15/2009
PO Box 31293
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Salt Lake City                  UT      84130
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Purchase of Consumer Goods
Is the claim subject to offset?
     No
     Yes

     4.2                                                                                                                                            $590.00
Capital One                                                 Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?           12/16/2011
PO Box 31293
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Salt Lake City                  UT      84131
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Purchase of Consumer Goods
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F
           Case 4:23-bk-01144-MJCSchedule
                                    Doc E/F:
                                          10 Creditors
                                                FiledWho  Have Unsecured Claims
                                                       05/30/23     Entered 05/30/23 15:02:44                                                   Descpage 2
                                   Main Document           Page 17 of 44
Debtor 1       Cheryl V. Johnson                                                       Case number (if known)       4:23-bk-01144

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

   4.3                                                                                                                                 $440.00
Capital One                                          Last 4 digits of account number
Nonpriority Creditor's Name
                                                     When was the debt incurred?        06/02/2008
PO Box 31293
Number        Street                                 As of the date you file, the claim is: Check all that apply.
                                                         Contingent
                                                         Unliquidated
                                                         Disputed
Salt Lake City                UT      84130
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Purchase of Consumer Goods
Is the claim subject to offset?
     No
     Yes

   4.4                                                                                                                                 $579.00
Capital One                                          Last 4 digits of account number
Nonpriority Creditor's Name
                                                     When was the debt incurred?        05/21/2008
PO Box 31293
Number        Street                                 As of the date you file, the claim is: Check all that apply.
                                                         Contingent
                                                         Unliquidated
                                                         Disputed
Salt Lake City                UT      84130
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Purchase of Consumer Goods
Is the claim subject to offset?
     No
     Yes

   4.5                                                                                                                               $2,898.00
Citicards                                            Last 4 digits of account number
Nonpriority Creditor's Name
                                                     When was the debt incurred?        11/15/2021
Box 6500
Number        Street                                 As of the date you file, the claim is: Check all that apply.
                                                         Contingent
                                                         Unliquidated
                                                         Disputed
Sioux Falls                   SD      57117
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Purchase of Consumer Goods
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F
         Case 4:23-bk-01144-MJCSchedule
                                  Doc E/F:
                                        10 Creditors
                                              FiledWho  Have Unsecured Claims
                                                     05/30/23     Entered 05/30/23 15:02:44                                         Descpage 3
                                 Main Document           Page 18 of 44
Debtor 1       Cheryl V. Johnson                                                       Case number (if known)       4:23-bk-01144

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

   4.6                                                                                                                               $6,018.00
FNB Omaha                                            Last 4 digits of account number
Nonpriority Creditor's Name
                                                     When was the debt incurred?        11/1/2011
PO Box 3412
Number        Street                                 As of the date you file, the claim is: Check all that apply.
                                                         Contingent
                                                         Unliquidated
                                                         Disputed
Omaha                         NE      68197
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Purchase of Consumer Goods
Is the claim subject to offset?
     No
     Yes

   4.7                                                                                                                               $9,623.00
PA State Employee FCU                                Last 4 digits of account number
Nonpriority Creditor's Name
                                                     When was the debt incurred?        12/10/2012
1 Credit Union Place
Number        Street                                 As of the date you file, the claim is: Check all that apply.
                                                         Contingent
                                                         Unliquidated
                                                         Disputed
Harrisburg                    PA      17110
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Purchase of Consumer Goods
Is the claim subject to offset?
     No
     Yes

   4.8                                                                                                                               $2,428.00
Synchrony Bank/CareCredit                            Last 4 digits of account number
Nonpriority Creditor's Name
                                                     When was the debt incurred?        06/24/2008
Attn: Bankruptcy Dept.
Number        Street                                 As of the date you file, the claim is: Check all that apply.
P.O. Box 965061                                          Contingent
                                                         Unliquidated
                                                         Disputed
Orlando                       FL      32896-5060
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Purchase of Consumer Goods
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F
         Case 4:23-bk-01144-MJCSchedule
                                  Doc E/F:
                                        10 Creditors
                                              FiledWho  Have Unsecured Claims
                                                     05/30/23     Entered 05/30/23 15:02:44                                         Descpage 4
                                 Main Document           Page 19 of 44
Debtor 1       Cheryl V. Johnson                                                       Case number (if known)       4:23-bk-01144

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

   4.9                                                                                                                               $3,172.00
Synchrony Bank/Lowes                                 Last 4 digits of account number
Nonpriority Creditor's Name
                                                     When was the debt incurred?        05/06/2018
Attn: Bankruptcy Dept.
Number        Street                                 As of the date you file, the claim is: Check all that apply.
P.O. Box 965060                                          Contingent
                                                         Unliquidated
                                                         Disputed
Orlando                       FL      32896-5060
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Purchase of Consumer Goods
Is the claim subject to offset?
     No
     Yes

  4.10                                                                                                                               $1,294.00
Synchrony Bank/Pay Pal                               Last 4 digits of account number
Nonpriority Creditor's Name
                                                     When was the debt incurred?        05/27/2016
Attn: Bankruptcy Dept.
Number        Street                                 As of the date you file, the claim is: Check all that apply.
P.O. Box 965064                                          Contingent
                                                         Unliquidated
                                                         Disputed
Orlando                       FL      32896-5064
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Purchase of Consumer Goods
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F
         Case 4:23-bk-01144-MJCSchedule
                                  Doc E/F:
                                        10 Creditors
                                              FiledWho  Have Unsecured Claims
                                                     05/30/23     Entered 05/30/23 15:02:44                                         Descpage 5
                                 Main Document           Page 20 of 44
Debtor 1       Cheryl V. Johnson                                                       Case number (if known)        4:23-bk-01144

 Part 4:        Add the Amounts for Each Type of Unsecured Claim

6.   Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.
     28 U.S.C. § 159. Add the amounts for each type of unsecured claim.


                                                                                                               Total claim

Total claims      6a. Domestic support obligations                                                   6a.                     $0.00
from Part 1
                  6b. Taxes and certain other debts you owe the government                           6b.                     $0.00

                  6c. Claims for death or personal injury while you were intoxicated                 6c.                     $0.00

                  6d. Other. Add all other priority unsecured claims. Write that amount here.        6d. +                   $0.00


                  6e. Total.     Add lines 6a through 6d.                                            6d.                     $0.00




                                                                                                               Total claim

Total claims      6f.   Student loans                                                                6f.                     $0.00
from Part 2
                  6g. Obligations arising out of a separation agreement or divorce                   6g.                     $0.00
                      that you did not report as priority claims

                  6h. Debts to pension or profit-sharing plans, and other similar                    6h.                     $0.00
                      debts

                  6i.   Other. Add all other nonpriority unsecured claims. Write that amount here.   6i.   +         $29,628.00


                  6j.   Total.   Add lines 6f through 6i.                                            6j.             $29,628.00




Official Form 106E/F
      Case 4:23-bk-01144-MJCSchedule
                               Doc E/F:
                                     10 Creditors
                                           FiledWho  Have Unsecured Claims
                                                  05/30/23     Entered 05/30/23 15:02:44                                             Descpage 6
                              Main Document           Page 21 of 44
 Fill in this information to identify your case:
 Debtor 1            Cheryl               V.                     Johnson
                     First Name           Middle Name            Last Name

 Debtor 2
 (Spouse, if filing) First Name           Middle Name            Last Name


 United States Bankruptcy Court for the: MIDDLE DIST. OF PENNSYLVANIA

 Case number         4:23-bk-01144                                                                                  Check if this is an
 (if known)
                                                                                                                    amended filing

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.
On the top of any additional pages, write your name and case number (if known).


1.   Do you have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2.   List separately each person or company with whom you have the contract or lease. Then state what each contract or lease
     is for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of
     executory contracts and unexpired leases.

        Person or company with whom you have the contract or lease                   State what the contract or lease is for




Official Form 106G                          Schedule G: Executory Contracts and Unexpired Leases                                                 page 1

      Case 4:23-bk-01144-MJC                     Doc 10 Filed 05/30/23 Entered 05/30/23 15:02:44                                          Desc
                                                 Main Document    Page 22 of 44
 Fill in this information to identify your case:
 Debtor 1            Cheryl               V.                      Johnson
                     First Name           Middle Name             Last Name

 Debtor 2
 (Spouse, if filing) First Name           Middle Name             Last Name


 United States Bankruptcy Court for the: MIDDLE DIST. OF PENNSYLVANIA

 Case number         4:23-bk-01144                                                                                       Check if this is an
 (if known)
                                                                                                                         amended filing



Official Form 106H
Schedule H: Your Codebtors                                                                                                                        12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If
two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this
page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.


1.    Do you have any codebtors?       (If you are filing a joint case, do not list either spouse as a codebtor.)
          No
          Yes

2.    Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories
      include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
               No
               Yes
3.    In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the
      person shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the
      creditor on Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use
      Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

         Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt

                                                                                              Check all schedules that apply:

3.1      Kayla Johnson Swanson
         Name                                                                                       Schedule D, line        2.2
         327 West Main Street                                                                       Schedule E/F, line
         Number      Street
         Apt 3                                                                                      Schedule G, line

         Lock Haven                                PA             17751                       Chrysler Capital
         City                                      State          ZIP Code




Official Form 106H                                          Schedule H: Your Codebtors                                                            page 1

       Case 4:23-bk-01144-MJC                    Doc 10 Filed 05/30/23 Entered 05/30/23 15:02:44                                               Desc
                                                 Main Document    Page 23 of 44
 Fill in this information to identify your case:
     Debtor 1              Cheryl               V.                     Johnson
                           First Name           Middle Name            Last Name                         Check if this is:
     Debtor 2                                                                                                 An amended filing
     (Spouse, if filing)   First Name           Middle Name            Last Name
                                                                                                              A supplement showing postpetition
     United States Bankruptcy Court for the:   MIDDLE DIST. OF PENNSYLVANIA
                                                                                                              chapter 13 income as of the following date:
     Case number           4:23-bk-01144
     (if known)
                                                                                                              MM / DD / YYYY
Official Form 106I
Schedule I: Your Income                                                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:          Describe Employment
1.    Fill in your employment
      information.                                             Debtor 1                                         Debtor 2 or non-filing spouse
      If you have more than one
      job, attach a separate page       Employment status             Employed                                         Employed
      with information about                                          Not employed                                     Not employed
      additional employers.
                                        Occupation             Care Giver
      Include part-time, seasonal,
      or self-employed work.            Employer's name        Help at Homes

      Occupation may include            Employer's address
      student or homemaker, if it                              Number Street                                    Number Street
      applies.




                                                               City                       State    Zip Code     City                   State    Zip Code

                                        How long employed there?        9 months

 Part 2:          Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                          For Debtor 1            For Debtor 2 or
                                                                                                                  non-filing spouse

2.    List monthly gross wages, salary, and commissions (before all             2.                $1,400.75
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.
3.    Estimate and list monthly overtime pay.                                      3. +               $0.00

4.    Calculate gross income. Add line 2 + line 3.                                 4.             $1,400.75




Official Form 106I                                            Schedule I: Your Income                                                               page 1
        Case 4:23-bk-01144-MJC                   Doc 10 Filed 05/30/23 Entered 05/30/23 15:02:44                                               Desc
                                                 Main Document    Page 24 of 44
Debtor 1        Cheryl V. Johnson                                                                                                Case number (if known)    4:23-bk-01144
                                                                                                                    For Debtor 1             For Debtor 2 or
                                                                                                                                             non-filing spouse
     Copy line 4 here ...................................................................................................................
                                                                                                                 4.              $1,400.75
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                                      5a.              $252.14
     5b. Mandatory contributions for retirement plans                                                       5b.                $0.00
     5c. Voluntary contributions for retirement plans                                                       5c.                $0.00
     5d. Required repayments of retirement fund loans                                                       5d.                $0.00
     5e. Insurance                                                                                          5e.                $0.00
     5f. Domestic support obligations                                                                       5f.                $0.00
     5g. Union dues                                                                                         5g.                $0.00
     5h. Other deductions.
          Specify:                                                                                          5h. +                $0.00
6.   Add the payroll deductions.                 Add lines 5a + 5b + 5c + 5d + 5e + 5f +                    6.               $252.14
     5g + 5h.
7.   Calculate total monthly take-home pay.                         Subtract line 6 from line 4.            7.            $1,148.61
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a                                               8a.                  $0.00
          business, profession, or farm
           Attach a statement for each property and business showing
           gross receipts, ordinary and necessary business expenses, and
           the total monthly net income.
     8b. Interest and dividends                                                                             8b.                  $0.00
     8c. Family support payments that you, a non-filing spouse, or a                                        8c.                  $0.00
         dependent regularly receive
           Include alimony, spousal support, child support, maintenance,
           divorce settlement, and property settlement.
     8d. Unemployment compensation                                                                          8d.               $0.00
     8e. Social Security                                                                                    8e.           $1,846.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) or any non-
         cash assistance that you receive, such as food stamps
         (benefits under the Supplemental Nutrition Assistance Program)
         or housing subsidies.
         Specify:                                                                                           8f.                  $0.00
     8g. Pension or retirement income                                                                       8g.              $700.18
     8h. Other monthly income.
         Specify: See continuation sheet                                                                    8h. +         $1,297.12

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                 9.            $3,843.30

10. Calculate monthly income. Add line 7 + line 9.                             10.     $4,991.91 +                      =                                                $4,991.91
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                                                             11.    +           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                             12.            $4,991.91
    income. Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information,
    if it applies.                                                                                                                                                   Combined
                                                                                                                                                                     monthly income
13. Do you expect an increase or decrease within the year after you file this form?
        No.           None.
           Yes. Explain:




Official Form 106I                                                               Schedule I: Your Income                                                                      page 2
      Case 4:23-bk-01144-MJC                                    Doc 10 Filed 05/30/23 Entered 05/30/23 15:02:44                                                         Desc
                                                                Main Document    Page 25 of 44
Debtor 1     Cheryl V. Johnson                                               Case number (if known)   4:23-bk-01144


                                                                    For Debtor 1       For Debtor 2 or
                                                                                       non-filing spouse
8h. Other Monthly Income (details)
     Pension                                                              $568.12
     Average Tax Refund                                                   $219.00
     Contribution from grandmother                                        $510.00

                                                          Totals:       $1,297.12




Official Form 106I                          Schedule I: Your Income                                                   page 3
      Case 4:23-bk-01144-MJC         Doc 10 Filed 05/30/23 Entered 05/30/23 15:02:44                          Desc
                                     Main Document    Page 26 of 44
 Fill in this information to identify your case:
                                                                                                         Check if this is:
     Debtor 1              Cheryl                 V.                     Johnson                             An amended filing
                           First Name             Middle Name            Last Name                           A supplement showing postpetition
                                                                                                             chapter 13 expenses as of the
     Debtor 2
     (Spouse, if filing)   First Name             Middle Name            Last Name                           following date:

     United States Bankruptcy Court for the:    MIDDLE DIST. OF PENNSYLVANIA                                   MM / DD / YYYY
     Case number           4:23-bk-01144
     (if known)

Official Form 106J
Schedule J: Your Expenses                                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:          Describe Your Household
1.    Is this a joint case?

            No. Go to line 2.
            Yes. Does Debtor 2 live in a separate household?
                     No
                     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?                  No
                                               Yes. Fill out this information          Dependent's relationship to    Dependent's      Does dependent
      Do not list Debtor 1 and                                                         Debtor 1 or Debtor 2           age              live with you?
                                               for each dependent...................................
      Debtor 2.                                                                                                                            No
                                                                                  son                                 52
                                                                                                                                           Yes
      Do not state the dependents'
                                                                                                                                           No
      names.
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
3.    Do your expenses include                         No
      expenses of people other than                    Yes
      yourself and your dependents?


 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                      Your expenses

4.    The rental or home ownership expenses for your residence.                                                      4.                     $294.00
      Include first mortgage payments and any rent for the ground or lot.
      If not included in line 4:

      4a. Real estate taxes                                                                                          4a.                    $200.00

      4b. Property, homeowner's, or renter's insurance                                                               4b.                     $83.00

      4c. Home maintenance, repair, and upkeep expenses                                                              4c.                    $100.00
      4d. Homeowner's association or condominium dues                                                                4d.




 Official Form 106J                                             Schedule J: Your Expenses                                                        page 1
        Case 4:23-bk-01144-MJC                      Doc 10 Filed 05/30/23 Entered 05/30/23 15:02:44                                        Desc
                                                    Main Document    Page 27 of 44
Debtor 1      Cheryl V. Johnson                                                         Case number (if known)   4:23-bk-01144
                                                                                                           Your expenses

5.   Additional mortgage payments for your residence, such as home equity loans                      5.

6.   Utilities:

     6a. Electricity, heat, natural gas                                                              6a.                    $670.00
     6b. Water, sewer, garbage collection                                                            6b.                    $100.00
     6c. Telephone, cell phone, Internet, satellite, and                                             6c.                    $200.00
         cable services
     6d. Other. Specify:      Cell Phone                                                             6d.                     $55.00
7.   Food and housekeeping supplies                                                                  7.                     $600.00
8.   Childcare and children's education costs                                                        8.

9.   Clothing, laundry, and dry cleaning                                                             9.                     $100.00
10. Personal care products and services                                                              10.

11. Medical and dental expenses                                                                      11.                     $70.00
12. Transportation. Include gas, maintenance, bus or train                                           12.                    $160.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                                    13.                    $100.00
    magazines, and books
14. Charitable contributions and religious donations                                                 14.                     $10.00
15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a.   Life insurance                                                                           15a.                    $30.00
     15b.   Health insurance                                                                         15b.

     15c.   Vehicle insurance                                                                        15c.                   $168.00
     15d.   Other insurance. Specify:     Flood Insurance                                            15d.                   $110.00
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                                         16.

17. Installment or lease payments:

     17a.   Car payments for Vehicle 1                                                               17a.                   $340.00
     17b.   Car payments for Vehicle 2                                                               17b.                   $510.00
     17c.   Other. Specify: Second Mortgage                                                          17c.                   $698.11
     17d.   Other. Specify:                                                                          17d.

18. Your payments of alimony, maintenance, and support that you did not report as                    18.
    deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).


19. Other payments you make to support others who do not live with you.
    Specify:                                                                                         19.




 Official Form 106J                                         Schedule J: Your Expenses                                            page 2
      Case 4:23-bk-01144-MJC                    Doc 10 Filed 05/30/23 Entered 05/30/23 15:02:44                            Desc
                                                Main Document    Page 28 of 44
Debtor 1      Cheryl V. Johnson                                                                Case number (if known)   4:23-bk-01144
20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
    20a.    Mortgages on other property                                                                      20a.

    20b.    Real estate taxes                                                                                20b.

    20c.    Property, homeowner's, or renter's insurance                                                     20c.

    20d.    Maintenance, repair, and upkeep expenses                                                         20d.

    20e.    Homeowner's association or condominium dues                                                      20e.

21. Other. Specify: See continuation sheet                                                                   21.    +             $140.00
22. Calculate your monthly expenses.

    22a.    Add lines 4 through 21.                                                                          22a.                $4,738.11
    22b.    Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2.                 22b.

    22c.    Add line 22a and 22b. The result is your monthly expenses.                                       22c.                $4,738.11

23. Calculate your monthly net income.

    23a.    Copy line 12 (your combined monthly income) from Schedule I.                                     23a.                $4,991.91
    23b.    Copy your monthly expenses from line 22c above.                                                  23b.   –            $4,738.11
    23c.    Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                           23c.                 $253.80

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

           No.
           Yes. Explain here:
                None.




 Official Form 106J                                         Schedule J: Your Expenses                                                   page 3
     Case 4:23-bk-01144-MJC                     Doc 10 Filed 05/30/23 Entered 05/30/23 15:02:44                                 Desc
                                                Main Document    Page 29 of 44
Debtor 1    Cheryl V. Johnson                                       Case number (if known)   4:23-bk-01144


21. Other. Specify:
    Auto Maintenance and repair                                                                        $100.00
    Pet food/ veternarian                                                                               $40.00

                                                                          Total:                       $140.00




 Official Form 106J                     Schedule J: Your Expenses                                            page 4
     Case 4:23-bk-01144-MJC       Doc 10 Filed 05/30/23 Entered 05/30/23 15:02:44                    Desc
                                  Main Document    Page 30 of 44
 Fill in this information to identify your case:
 Debtor 1                Cheryl                        V.                            Johnson
                         First Name                    Middle Name                   Last Name

 Debtor 2
 (Spouse, if filing) First Name                        Middle Name                   Last Name


 United States Bankruptcy Court for the: MIDDLE DIST. OF PENNSYLVANIA

 Case number             4:23-bk-01144                                                                                                                    Check if this is an
 (if known)
                                                                                                                                                          amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                    12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended
schedules after you file your original forms, you must fill out a new Summary and check the box at the top of this page.



 Part 1:          Summarize Your Assets

                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1.   Schedule A/B: Property (Official Form 106A/B)
                                                                                                                                                                              $88,027.00
     1a. Copy line 55, Total real estate, from Schedule A/B.....................................................................................................................


                                                                                                                                                                         $32,600.00
     1b. Copy line 62, Total personal property, from Schedule A/B......................................................................................................................................................


                                                                                                                                                                            $120,627.00
     1c. Copy line 63, Total of all property on Schedule A/B................................................................................................................................................................


 Part 2:          Summarize Your Liabilities

                                                                                                                                                                        Your liabilities
                                                                                                                                                                        Amount you owe

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                            $85,452.00
     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.........................

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                  $0.00
     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................................................................


                                                                                                                                    +                 $29,628.00
     3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F........................................................



                                                                                                                                   Your total liabilities                         $115,080.00




 Part 3:          Summarize Your Income and Expenses

4.   Schedule I: Your Income (Official Form 106I)
                                                                                                                                                                         $4,991.91
     Copy your combined monthly income from line 12 of Schedule I....................................................................................................................................................

5.   Schedule J: Your Expenses (Official Form 106J)
     Copy your monthly expenses from line 22c of Schedule J.........................................................................................................                  $4,738.11




Official Form 106Sum                        Summary of Your Assets and Liabilities and Certain Statistical Information                                                                        page 1

      Case 4:23-bk-01144-MJC                                    Doc 10 Filed 05/30/23 Entered 05/30/23 15:02:44                                                                      Desc
                                                                Main Document    Page 31 of 44
Debtor 1      Cheryl V. Johnson                                                            Case number (if known)     4:23-bk-01144


 Part 4:        Answer These Questions for Administrative and Statistical Records

6.   Are you filing for bankruptcy under Chapters 7, 11, or 13?

           No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
           Yes

7.   What kind of debt do you have?

           Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
           family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
           Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from
     Official Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                     $3,542.80


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                        Total claim

     From Part 4 on Schedule E/F, copy the following:

     9a. Domestic support obligations. (Copy line 6a.)                                                                 $0.00


     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                         $0.00


     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                               $0.00


     9d. Student loans. (Copy line 6f.)                                                                                $0.00


     9e. Obligations arising out of a separation agreement or divorce that you did not report as                       $0.00
         priority claims. (Copy line 6g.)

     9f.   Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)       +                  $0.00


     9g. Total.    Add lines 9a through 9f.                                                                            $0.00




Official Form 106Sum               Summary of Your Assets and Liabilities and Certain Statistical Information                                page 2

      Case 4:23-bk-01144-MJC                      Doc 10 Filed 05/30/23 Entered 05/30/23 15:02:44                                      Desc
                                                  Main Document    Page 32 of 44
 Fill in this information to identify your case:
 Debtor 1           Cheryl              V.                   Johnson
                    First Name          Middle Name          Last Name

 Debtor 2
 (Spouse, if filing) First Name         Middle Name          Last Name


 United States Bankruptcy Court for the: MIDDLE DIST. OF PENNSYLVANIA

 Case number        4:23-bk-01144                                                                            Check if this is an
 (if known)
                                                                                                             amended filing

Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                     12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement,
concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to
$250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below

    Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

          No

          Yes. Name of person                                                                Attach Bankruptcy Petition Preparer's Notice,
                                                                                             Declaration, and Signature (Official Form 119).




    Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are
    true and correct.




    X /s/ Cheryl V. Johnson                                X
        Cheryl V. Johnson, Debtor 1                            Signature of Debtor 2

        Date 05/30/2023                                        Date
             MM / DD / YYYY                                           MM / DD / YYYY




Official Form 106Dec                         Declaration About an Individual Debtor's Schedules                                        page 1

     Case 4:23-bk-01144-MJC                   Doc 10 Filed 05/30/23 Entered 05/30/23 15:02:44                                      Desc
                                              Main Document    Page 33 of 44
 Fill in this information to identify your case:
 Debtor 1           Cheryl                V.                     Johnson
                    First Name            Middle Name            Last Name

 Debtor 2
 (Spouse, if filing) First Name           Middle Name            Last Name


 United States Bankruptcy Court for the: MIDDLE DIST. OF PENNSYLVANIA

 Case number        4:23-bk-01144                                                                               Check if this is an
 (if known)
                                                                                                                amended filing

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                     04/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.


 Part 1:       Give Details About Your Marital Status and Where You Lived Before

1.   What is your current marital status?
        Married
        Not married

2.   During the last 3 years, have you lived anywhere other than where you live now?
         No
         Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

3.   Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?
     (Community property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas,
     Washington, and Wisconsin.)
         No
         Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




Official Form 107                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 1

      Case 4:23-bk-01144-MJC                     Doc 10 Filed 05/30/23 Entered 05/30/23 15:02:44                                      Desc
                                                 Main Document    Page 34 of 44
Debtor 1       Cheryl V. Johnson                                                         Case number (if known)     4:23-bk-01144

 Part 2:         Explain the Sources of Your Income
4.   Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

           No
           Yes. Fill in the details.

                                                    Debtor 1                                        Debtor 2

                                                  Sources of income          Gross income          Sources of income         Gross income
                                                  Check all that apply.      (before deductions    Check all that apply.     (before deductions
                                                                             and exclusions                                  and exclusions

From January 1 of the current year until              Wages, commissions,             $5,603.00       Wages, commissions,
the date you filed for bankruptcy:                    bonuses, tips                                   bonuses, tips
                                                      Operating a business                            Operating a business


For last calendar year:                               Wages, commissions,             $1,564.00       Wages, commissions,
                                                      bonuses, tips                                   bonuses, tips
(January 1 to December 31, 2022 )
                                  YYYY                Operating a business                            Operating a business


For the calendar year before that:                    Wages, commissions,                             Wages, commissions,
                                                      bonuses, tips                                   bonuses, tips
(January 1 to December 31, 2021 )
                                  YYYY                Operating a business                            Operating a business

5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security;
     unemployment; and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
     and gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under
     Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.


                                                    Debtor 1                                        Debtor 2

                                                  Sources of income           Gross income         Sources of income           Gross income
                                                  Describe below.             from each source     Describe below.             from each source
                                                                              (before deductions                               (before deductions
                                                                              and exclusions                                   and exclusions

From January 1 of the current year until          Social Security                     $9,230.00
the date you filed for bankruptcy:                Pension                             $6,341.50



For last calendar year:                           Social Security                    $28,156.00
(January 1 to December 31, 2022 )                 Pension                            $15,744.00
                                YYYY



For the calendar year before that:                Social Security                    $39,096.00
(January 1 to December 31, 2021 )                 Pension                            $15,862.00
                                YYYY




Official Form 107                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                               page 2

      Case 4:23-bk-01144-MJC                      Doc 10 Filed 05/30/23 Entered 05/30/23 15:02:44                                    Desc
                                                  Main Document    Page 35 of 44
Debtor 1         Cheryl V. Johnson                                                            Case number (if known)      4:23-bk-01144


  Part 3:         List Certain Payments You Made Before You Filed for Bankruptcy
6.     Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

           No.      Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
                    "incurred by an individual primarily for a personal, family, or household purpose."

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?

                       No. Go to line 7.

                       Yes. List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the
                            total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                            child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

                    * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                       No. Go to line 7.

                       Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                            creditor. Do not include payments for domestic support obligations, such as child support and alimony.
                            Also, do not include payments to an attorney for this bankruptcy case.

                                                              Dates of       Total amount         Amount you          Was this payment for...
                                                              payment        paid                 still owe
Bank of America                                                                  $1,020.00           $8,338.00              Mortgage
Creditor's name                                                                                                             Car
                                                              03/2023
Bankruptcy Department                                                                                                       Credit card
Number     Street                                             04/2023
                                                              05/2023                                                       Loan repayment
4161 Piedmont Pkwy.
                                                                                                                            Suppliers or vendors
Greensboro                          NC       27410                                                                          Other
City                                State    ZIP Code

                                                              Dates of       Total amount         Amount you          Was this payment for...
                                                              payment        paid                 still owe
Chrysler Capital                                                                 $1,530.00           $13,907.00             Mortgage
Creditor's name                                                                                                             Car
                                                              03/2023
Attn: Bankruptcy Dept                                                                                                       Credit card
Number     Street                                             04/2023
                                                              05/2023                                                       Loan repayment
PO Box 961278
                                                                                                                            Suppliers or vendors
Ft. Worth                           TX       76161-1278                                                                     Other
City                                State    ZIP Code




Official Form 107                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 3

        Case 4:23-bk-01144-MJC                       Doc 10 Filed 05/30/23 Entered 05/30/23 15:02:44                                        Desc
                                                     Main Document    Page 36 of 44
Debtor 1         Cheryl V. Johnson                                                           Case number (if known)      4:23-bk-01144
7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations
     such as child support and alimony.

           No
           Yes. List all payments to an insider.

8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that
     benefited an insider?
     Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments that benefited an insider.

 Part 4:          Identify Legal Actions, Repossessions, and Foreclosures
9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
     modifications, and contract disputes.

           No
           Yes. Fill in the details.

Case title                                 Nature of the case                         Court or agency                                Status of the case
M&T Bank vs Cheryl Johnson                 Mortgage Forclosure- stayed                Clinton County Court of Common Pleas
                                                                                                                                               Pending
                                                                                      Court Name
                                                                                                                                               On appeal
                                                                                      Number     Street
Case number 2023-00448                                                                                                                         Concluded


                                                                                      City                       State    ZIP Code


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached,
    seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any
    amounts from your accounts or refuse to make a payment because you owed a debt?

           No
           Yes. Fill in the details.

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
    creditors, a court-appointed receiver, a custodian, or another official?

           No
           Yes




Official Form 107                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 4

      Case 4:23-bk-01144-MJC                       Doc 10 Filed 05/30/23 Entered 05/30/23 15:02:44                                          Desc
                                                   Main Document    Page 37 of 44
Debtor 1       Cheryl V. Johnson                                                           Case number (if known)     4:23-bk-01144

  Part 5:        List Certain Gifts and Contributions
13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

           No
           Yes. Fill in the details for each gift.

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600
    to any charity?


           No
           Yes. Fill in the details for each gift or contribution.

  Part 6:        List Certain Losses
15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire,
    other disaster, or gambling?

           No
           Yes. Fill in the details.

  Part 7:        List Certain Payments or Transfers
16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
       Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required for your bankruptcy.

           No
           Yes. Fill in the details.

                                                       Description and value of any property transferred        Date payment        Amount of
Tullio DeLuca, Esquire                                 legal services rendered                                  or transfer was     payment
Person Who Was Paid                                                                                             made

381 N. 9th Avenue                                                                                                   05/2023             $1,000.00
Number      Street




Scranton                      PA       18504
City                          State    ZIP Code


Email or website address


Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone who promised to help you deal with your creditors or to make payments to your creditors?
       Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.




Official Form 107                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 5

        Case 4:23-bk-01144-MJC                       Doc 10 Filed 05/30/23 Entered 05/30/23 15:02:44                                    Desc
                                                     Main Document    Page 38 of 44
Debtor 1       Cheryl V. Johnson                                                         Case number (if known)     4:23-bk-01144
18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
    property transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as granting of a security interest or mortgage on your property).
    Do not include gifts and transfers that you have already listed on this statement.


           No
           Yes. Fill in the details.

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
    you are a beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.

 Part 8:         List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units
20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your
    benefit, closed, sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.

           No
           Yes. Fill in the details.

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository
    for securities, cash, or other valuables?

           No
           Yes. Fill in the details.

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
       No
       Yes. Fill in the details.

 Part 9:         Identify Property You Hold or Control for Someone Else
23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
    or hold in trust for someone.

           No
           Yes. Fill in the details.




Official Form 107                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 6

      Case 4:23-bk-01144-MJC                    Doc 10 Filed 05/30/23 Entered 05/30/23 15:02:44                                       Desc
                                                Main Document    Page 39 of 44
Debtor 1        Cheryl V. Johnson                                                               Case number (if known)         4:23-bk-01144

  Part 10:        Give Details About Environmental Information
For the purpose of Part 10, the following definitions apply:

       Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
       hazardous or toxic substance, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
       including statutes or regulations controlling the cleanup of these substances, wastes, or material.
       Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
       utilize it or used to own, operate, or utilize it, including disposal sites.

       Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
       substance, hazardous material, pollutant, contaminant, or similar item.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental
    law?

            No
            Yes. Fill in the details.
25. Have you notified any governmental unit of any release of hazardous material?
       No
       Yes. Fill in the details.

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and
    orders.

            No
            Yes. Fill in the details.

  Part 11:        Give Details About Your Business or Connections to Any Business
27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any
    business?

                 A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                 A member of a limited liability company (LLC) or limited liability partnership (LLP)
                 A partner in a partnership
                 An officer, director, or managing executive of a corporation
                 An owner of at least 5% of the voting or equity securities of a corporation

            No. None of the above applies. Go to Part 12.
            Yes. Check all that apply above and fill in the details below for each business.

                                                  Describe the nature of the business                 Employer Identification number
Johnson Associates, LLC                           Franchise coaching business                         Do not include Social Security number or ITIN.
Business Name
                                                                                                      EIN:           –
                                                  Name of accountant or bookkeeper
Number       Street
                                                                                                      Dates business existed

                                                                                                      From      11/2001          To   11/2013

City                       State   ZIP Code




Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 7

         Case 4:23-bk-01144-MJC                      Doc 10 Filed 05/30/23 Entered 05/30/23 15:02:44                                           Desc
                                                     Main Document    Page 40 of 44
Debtor 1       Cheryl V. Johnson                                                         Case number (if known)    4:23-bk-01144
28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include
    all financial institutions, creditors, or other parties.

           No
           Yes. Fill in the details below.

 Part 12:        Sign Below
I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury
that the answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




X /s/ Cheryl V. Johnson                                   X
   Cheryl V. Johnson, Debtor 1                                Signature of Debtor 2

   Date       05/30/2023                                      Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

    No
    Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

    No
    Yes. Name of person                                                                        Attach the Bankruptcy Petition Preparer's Notice,
                                                                                               Declaration, and Signature (Official Form 119).




Official Form 107                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 8

      Case 4:23-bk-01144-MJC                      Doc 10 Filed 05/30/23 Entered 05/30/23 15:02:44                                    Desc
                                                  Main Document    Page 41 of 44
B2030 (Form 2030) (12/15)
                                                          UNITED STATES BANKRUPTCY COURT
                                                          MIDDLE DISTRICT OF PENNSYLVANIA
                                                               WILKES-BARRE DIVISION
In re Cheryl V. Johnson                                                                                                             Case No.           4:23-bk-01144

                                                                                                                                    Chapter            13

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept.........................................................................................................
                                                                                                                                 $4,500.00
     Prior to the filing of this statement I have received.............................................................................................
                                                                                                                                $1,000.00
     Balance Due..............................................................................................................................................................
                                                                                                                                                 $3,500.00

2. The source of the compensation paid to me was:
                       Debtor                                    Other (specify)

3. The source of compensation to be paid to me is:
                       Debtor                                    Other (specify)
                                                                 Through the Chapter 13 Plan

4.         I have not agreed to share the above-disclosed compensation with any other person unless they are members and
           associates of my law firm.

           I have agreed to share the above-disclosed compensation with another person or persons who are not members or
           associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
           compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
     bankruptcy;

     b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;




        Case 4:23-bk-01144-MJC                                     Doc 10 Filed 05/30/23 Entered 05/30/23 15:02:44                                                               Desc
                                                                   Main Document    Page 42 of 44
B2030 (Form 2030) (12/15)

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
   The Debtor and the undersigned agree that any additional legal services required but not outlined above, such as
   adversary proceedings, objections to proof of claims, motions to sell property, and amending the plan post
   confirmation, shall be charged and paid at an hourly rate of $250.00 per hour. In the event a violation of auto stay
   and/or discharge injunction occurs which requires a proceeding to be filed and prosecuted, Debtor agrees to be
   charged and pay an hourly rate of $300.00.




                                                          CERTIFICATION
     I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
  representation of the debtor(s) in this bankruptcy proceeding.


                  05/30/2023                         /s/ Tullio DeLuca
                     Date                            Tullio DeLuca                              Bar No. 59887
                                                     Law offices of Tullio DeLuca
                                                     381 N. 9th Avenue
                                                     Scranton, PA 18504
                                                     Phone: (570) 347-7764 / Fax: (570) 347-7763




  /s/ Cheryl V. Johnson
  Cheryl V. Johnson




     Case 4:23-bk-01144-MJC               Doc 10 Filed 05/30/23 Entered 05/30/23 15:02:44                          Desc
                                          Main Document    Page 43 of 44
                                      UNITED STATES BANKRUPTCY COURT
                                      MIDDLE DISTRICT OF PENNSYLVANIA
                                           WILKES-BARRE DIVISION
  IN RE:   Cheryl V. Johnson                                                       CASE NO    4:23-bk-01144

                                                                                  CHAPTER     13

                                     VERIFICATION OF CREDITOR MATRIX

      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 5/30/2023                                          Signature   /s/ Cheryl V. Johnson
                                                                    Cheryl V. Johnson




Date                                                    Signature




        Case 4:23-bk-01144-MJC             Doc 10 Filed 05/30/23 Entered 05/30/23 15:02:44                         Desc
                                           Main Document    Page 44 of 44
